” Case 2:04-cr-80370-JCO-DAS ECF No. 572 filed 12/18/06 PagelD.3336 Page 1 of "

AQ2458 (Rev. 12/03] Judgment ina Criminal Cage
Sheet 1

Judgment-Page 1 of 7

United States District Court
Eastern District of Michigan

United States of America JUDGMENT IN A CRIMINAL CASE
V.
Nassib Berro Case Number: 04CR80370-18

USM Number: 40099-039

Mark Magidson { L iE
Defendant's Attorney
DEC
THE DEFENDANT: 15 2006
' CLER!
Pleaded guilty to count(s): 43. US. Dist AGT Osta
ANN ARBOR, MI
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.8.C, 371 Conspiracy 01/2004 43

The defendant is sentenced as provided in pages 2 through 7 of this judgment. This scntence is imposed pursuant to the
Sentencing Reform Act of 1984

it is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attomey of material changes in cconomic
circumstances.

December 12, 2006

of Impasition of Judgment

 
    

 

oN 5 k Qe
JohirCorbett OMeara

United States District Judge

DEC 15 2006

Date Signed

 

 
 

" Case 2:04-cr-80370-JCO-DAS ECF No. 572 filed 12/18/06 PagelD.3337 Page 2of7

AQ245B [Rev. 12/03] Judgment ina Criminal Casa
Sheet 2 + iinprlaonment

Judgiment-Page 2 of 7

DEFENDANT: Nassib Berro
CASE NUMBER: 04CR80370-18

IMPRISONMENT

The defendant is hereby committed to the custody of the United Statcs Bureau of Prisons to be imprisoned for a total term of: 41
months.

The court makes the following recommendations to the Bureau of Prisons: Drug treatment be made available for any pain-
killer medication addiction.

The defendant shall surrender to the United States Marshal for this district as notified by the United States Marshal.

RETURN

[have executed this judgment as follows:

Defendant delivered on to a
. with a certified copy of this judgment.

 

 

United States Marsha]

 

Peputy United States Marshal

 

 
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AQ245B [Rav. 12/03] Judgment in a Criminal Gaae
Sheet 3. Supervised Reloaae

Judgment-Page 3 of 7

DEFENDANT: Nassib Berro
CASE NUMBER: 04CR80370-15

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custory of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

If the defendant is convicted of a felony offense, DNA collection is required by Public Law 108-405.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two
periodic drug tests thereafter, as determined by the court, Revocation of supervised release is mandatory for possession of a
controlled substance.

If this judgment imposes a fine or restitution, it is a condition of supervised relcase that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this courl as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report ot the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer:

4) the defendant shall support his or her dependents and mect other family responsibilitics;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer:

12) the defendant shat! not enter into any agreement to act ag an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement, and

14) the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. Revocation of
supervised release is mandatory for possession of a fitcarm.

 
 

 

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AO245B6 [Rev. 12/03] Judgment ina Criminal Case
Sheet JC - Supervised Releuse

Judgment-Page 4 of 7

DEFENDANT: Nassib Berro
CASE NUMBER: 04CR80370-18

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall make monthly installment payments on any remaining balance of the restitution at a rate and schedule
recommended by the Probation Department and approved by the Court.

The defendant shal! not incur any new credit charges or open additional lines of credit without the approval of the probation
officer.

The defendant shall provide the probation officer access to any requested financial information.

The defendant shall participate in drug treatment and testing approved by the probation department, if necessary.

 

 
 

Case 2:04-cr-80370-JCO-DAS ECF No. 572 filed 12/18/06 PagelD.3340 Page 5of7

AQg456 (Rev. 12/03] Judgment ina Criminal Casa
_ Sheet 5 - Criminal Monetary Penalties

Judgment-Page 3 of 7

DEFENDANT: Nassib Berro
CASE NUMBER: 04CR&0370-18

CRIMINAL MONETARY PENALTIES

Assessment Fine Restitution
TOTALS: § 100.00 $ 0.00 $ 468301.00

If the defendant makes a partial payment, each payce shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
victims must be paid before the United States is paid.

Name of Payee Total Loss* Restitution Priority or
Ordered Percentage

TOTALS: $ 0.00 5 0.00

the interest requirement is waived for the restitution

* Findings for the total amount of losses are required under Chapters LO9A, 110, 110A, and 113A of Title 18 for offenses committed on or
atter September 13, 1994, but before April 23, 1996.

 
 

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AQZ456 [Rev. 12/03) Judgment in a Criminal Case
Sheet 5A - Criminal Monetary Penallies

Judgment-Page 6 of 7

DEFENDANT: Nassib Berro
CASE NUMBER: 04CR80370-18

ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

Restitution to be paid to the Clerk of the Court for disbursement to the victims of the offense. See Probation Department for list
of victims.

 

 
 

Case 2:04-cr-80370-JCO-DAS ECF No. 572 filed 12/18/06 PagelD.3342 Page 7 of 7

402456 [Rey. 42/03] Judgment in a Criminat Case
Sheet 6 - Schedule of Payments

Judgment-Page 7 of 7

DEFENDANT: Nassib Berro
CASE NUMBER: 04CR80370-18

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are duc as follows:

Unless the court has expressly ordered otherwise in the special instructions above, while in custody, the defendant shall
participate in the Inmate Financial Responsibility Program. The Court is aware of the requirements of the program and approves
of the payment schedule of this program and hereby orders the defendant's compliance, All criminal monetary penalty payments
are to be made to the Clerk of the Court, except those payments made through the Bureau of Prison's Inmate Financial
Responsibility Program,

The defendant shall receive credit for all payments previously made toward any crimina! monetary penalties imposed.

Joint and Several

Case Number ;
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,

(including defendant number) Total Amount Amount if appropriate
04-80370-19
Salwa Berro 0.00 468301.00

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (3) fine
interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosccution and court costs,

 

 
